              Case 1:19-cv-01063-LY Document 90 Filed 06/25/20 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

EMILY GILBY; TEXAS DEMOCRATIC
PARTY; DSCC; DCCC; and TERRELL
BLODGETT,

          Plaintiffs,

v.
                                                             CIVIL ACTION NO. 1:19-cv-01063
RUTH HUGHS, in her official capacity as
the Texas Secretary of State,

          Defendant.


THE TEXAS SECRETARY OF STATE’S NOTICE OF SUPPLEMENTAL AUTHORITY
              IN SUPPORT OF HER MOTION TO DISMISS

          Yesterday, the U.S. District Court for the Southern District of Texas granted Secretary

Hughs’s motion to dismiss Bruni v. Hughs, 1 a lawsuit challenging the repeal of the one-punch, straight

ticket voting (“STV”) option in Texas elections. See Ex. A. The court dismissed that case because the

plaintiffs—who included the Texas Democratic Party, DSCC, and DCCC—lacked standing to

challenge the repeal. Judge Marmolejo’s reasoning applies with equal force in this case.

          Judge Marmolejo found that the plaintiffs in Bruni lacked standing because their alleged injuries

were too attenuated and uncertain, and if those injuries occurred at all, they resulted from the decisions

of parties not in front of the court. Id. at 2. The plaintiffs’ alleged injuries relied on “numerous

suppositions” of how voters would respond to HB 25, the bill that repealed the STV option. Id.

Additionally, Judge Marmolejo found that the plaintiffs’ arguments improperly “assume[d] ‘local

officials will not use their state-law authority to ameliorate’” any of the effects alleged by the plaintiffs.

Id. at 11 (citing to and adopting Secretary Hughs’s argument in her motion to dismiss). And even



1
    Civil Action No. 5:20-cv-35

                                                      1
           Case 1:19-cv-01063-LY Document 90 Filed 06/25/20 Page 2 of 4



setting the uncertainty of the plaintiffs’ allegations aside, their case would have failed still because the

plaintiffs’ “injuries hinge[d] on decisions of third parties who are not before the Court.” Id. at 13 (citing

High v. Karbhari, 774 F. App’x 180, 183 (5th Cir. 2019)).

        So too here. Plaintiffs do not know how county election officials are going to respond to HB

1888. For example, those officials may decide to convert every part-time early voting location into a

full-time early voting location. Indeed, evidence cited by Plaintiffs’ own complaint shows that some

intend to do exactly that. See ECF 21 at 8. Similarly, Plaintiffs themselves even acknowledge that some

counties may decide to keep fewer polling places open for more time. Id. at 8–9. But Plaintiffs can

only speculate about whether that will occur in any particular county, which particular polling places

may be open for longer, and how that will affect any individual voter. Thus, as did their allegations in

Bruni, Plaintiffs’ alleged injuries in this case require “numerous suppositions” and are not “concrete,

particularized, and actual or imminent.” Ex. A at 2, 7.

        Likewise, Plaintiffs’ claimed injuries “hinge on the decisions” of county election officials, who

are not before this Court. Even prior to HB 1888, there was no guarantee that a county would put a

polling place in any particular location. There was no guarantee that counties would keep polling places

consistent from one election to the next. And there was no guarantee that counties would provide any

part-time early voting locations anywhere, let alone in every one of the locations used during the prior

election. Where counties decide to place early voting locations—before or after HB 1888—is a

decision for the counties, “third parties who are not before the Court.” Ex. A at 13.

        In Secretary Hughs’s pending motion to dismiss this case, she argues that “[s]peculation about

the decision of local officials not before the Court cannot establish an injury in fact.” ECF 21 at 11

(citing Clapper v. Amnesty Intern. USA, 568 U.S. 398, 398 (2013)). Citing that same case, Judge

Marmolejo agreed, finding that “Plaintiffs’ injuries rest on numerous suppositions that are uncertain

to occur and that the occurrence of Plaintiffs’ injuries depends on decisions of third parties who are

not before the Court, [so] Plaintiffs’ injuries are not certainly impending and fail to satisfy Article III.”

                                                     2
           Case 1:19-cv-01063-LY Document 90 Filed 06/25/20 Page 3 of 4



Ex. A at 2. The same is true with Plaintiffs’ alleged injuries in this case. Therefore, they lack standing

to challenge HB 1888.



Date: June 25, 2020                                     Respectfully submitted.

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          Case 1:19-cv-01063-LY Document 90 Filed 06/25/20 Page 4 of 4



                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on June 25, 2020, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
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